Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 1 of 8




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-690

  DAVID TRUJILLO, an individual

          Plaintiff(s),

  v.

  AURORA PUBLIC SCHOOLS;
  APS BOARD OF EDUCATION;


          Defendant(s).


                               COMPLAINT WITH JURY DEMAND


       Plaintiff, David Trujillo, who appears individually, hereby respectfully files this action against

  Defendants Aurora Public Schools (“APS”) and the APS Board of Education (“Board”)

  (collectively, “Defendants”) through the undersigned counsel of record Kishinevsky & Raykin,

  Attorneys at Law, and states on information and belief as follows. This action seeks appropriate

  damages and costs.

                                I.      JURISDICTION AND VENUE

       1. The court has jurisdiction over this action pursuant to 28 U.S.C. § 1331. Federal question

          jurisdiction arises under the Age Discrimination in Employment Act of 1967 (29 U.S.C.S

          § 621 et seq.).

       2. Plaintiff David Trujillo (“Plaintiff”) is a resident of Arapahoe County, Colorado.

       3. Defendants are located in Arapahoe County, Colorado.

       4. All Defendants are Colorado residents.


                                                Page 1 of 8
Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 2 of 8




     5. The wrongful acts alleged by Plaintiff occurred in whole or in part in Arapahoe County,

        Colorado.

     6. Venue is proper in this court under 28 U.S.C. § 1391(b)(2).

                                 II.     BACKGROUND FACTS

     8. Mr. Trujillo was born on June 27, 1973 and is 47 years old.

     9. Mr. Trujillo has been an educator since 1999.

     10. Mr. Trujillo received a Bachelor’s of Arts from Metropolitan State University, received a

        Master’s degree in Curriculum and Instruction from Colorado Christian University, and a

        Master’s degree in Educational Leadership from Denver University.

     11. Mr. Trujillo began working for Aurora Public Schools (APS) in 2011.

     12. Mr. Trujillo was employed as a middle school teacher at North Middle School beginning

        in the fall of 2016.

     13. North Middle School receives federal funding.

     14. In January of 2019, Mr. Trujillo was informed that North Middle School was dropping

        their social studies department to create a hybrid department that also focused on literacy.

     15. Mr. Trujillo was told that he would need to be endorsed in Social Studies and English

        Language Arts to be qualified to continue teaching at North Middle School.

     16. Mr. Trujillo is endorsed to teach Social Studies.

     17. Mr. Trujillo has all the required credits to be endorsed in English Language Arts and just

        needed to pass the Praxis #5038 examination with a score of 167 or higher to be endorsed

        in English Language Arts.




                                             Page 2 of 8
Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 3 of 8




     18. Mr. Trujillo indicated to APS officials that he was ready, willing, and able to take the

        Praxis exam, and he had indicated the same to them in the past if it was necessary to

        retain his employment with APS.

     19. APS indicated that Mr. Trujillo would not be retained at North Middle School, regardless

        of whether or not he passed the Praxis #5038 exam.

     20. At the end of the 2018-2019 school year, APS told Mr. Trujillo he would no longer be

        working at North Middle School.

     21. The reason he was given for his move out of North Middle School was that he was not

        certified in English Language Arts – even though he was told he would not be retained

        even with the proper endorsement.

     22. This justification by APS was pretextual.

     23. Mr. Trujillo was transferred to from North Middle School to Aurora Hills Middle School

        in the fall of 2019.

     24. Aurora Hills Middle School receives federal funding.

     25. Upon information and belief, in November of 2019, Mr. Trujillo discovered that the

        person who replaced him at North Middle School was not endorsed in Social Studies and

        English Language Arts, but was only endorsed in Social Studies according to online

        records. Mr. Trujillo’s replacement was not more qualified than he was.

     26. His replacement was also much younger than Mr. Trujillo.

     27. Upon information and belief, Mr. Trujillo’s replacement at North Middle School was

        hired on a significantly lower salary than the salary Mr. Trujillo was receiving at North

        Middle School.



                                             Page 3 of 8
Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 4 of 8




     28. When Mr. Trujillo was transferred to Aurora Hills Middle school, he was told it was a

        “mutual” transfer.

     29. In fact, during his meeting regarding the job placement, Principal Garcia and Assistant

        Principal Buch used the phrase “interview” to describe the meeting.

     30. Mutual transfers must be interviewed by the incoming school while non-mutual transfers

        do not, according to APS policies.

     31. Mr. Trujillo discovered in an email from Katrina Smith (“Ms. Smith”), the Human

        Resources Director at Aurora Public Schools, that the transfer was, in fact, a “non-

        mutual” transfer.

     32. Ms. Smith specifically contradicted Principal Garcia and Vice Principal Buch in stating

        that, “Yesterday’s meeting was not an interview.”

     33. In APS, while he was working at North Middle School, Mr. Trujillo was a non-

        probationary teacher, which entitled him to special protections, such as assurance of

        employment with APS.

     34. However, after a non-mutual transfer, he was automatically demoted to being a

        probationary teacher, making him much easier to fire and also not assuring him continued

        employment with APS beyond August 31, 2020.

     35. On March 9, 2020, Mr. Trujillo learned that he would finish the 2019-20 school year at

        Aurora Hills Middle School, but he would not have a job at that school or any school in

        APS after August 31, 2020.

     36. Two younger females were hired at Aurora Hills Middle School after Mr. Trujillo was

        informed he would no longer have a position at the school.



                                             Page 4 of 8
Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 5 of 8




     37. Mr. Trujillo has an exceptional record of superb performance in APS.

     38. His evaluations have routinely been excellent.

     39. Since 2014, all of Mr. Trujillo’s evaluations found that he was effective to highly

        effective.

     40. Mr. Trujillo was terminated from APS due to his age and due to APS’s desire to hire

        younger and cheaper replacements.

     98. Plaintiff filed a timely charge of discrimination with the Equal Employment Opportunity

        Commission (“EEOC”) and received a right-to-sue letter.

     99. Plaintiff has exhausted his administrative remedies.

                          III.    CLAIMS AND CAUSES OF ACTION

                          A.    FIRST CLAIM FOR RELIEF
         (VIOLATION OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT OF 1967
                            – AGAINST ALL DEFENDANTS)

     92. Plaintiff reincorporates and realleges all other paragraphs as if fully set forth herein.

     93. The Age Discrimination in Employment Act of 1967 states that it “shall be unlawful for an

        employer – (1) to fail or refuse to hire or to discharge any individual or otherwise

        discriminate against any individual with respect to his compensation, terms, conditions, or

        privileges or employment, because of such individual’s age; (2) to limit, segregate, or

        classify his employers in any way which would deprive or tend to deprive any individual

        of employment opportunities or otherwise adversely affect his stats as an employee,

        because of such individual’s age; or (3) to reduce the wage rate of any employee in order

        to comply with this Act.” 29 U.S.C.S. § 623(a)(1-3).




                                              Page 5 of 8
Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 6 of 8




     94. The Age Discrimination in Employment Act states that the “prohibitions in this Act shall

        be limited to individuals who are least 40 year of age.” 29 U.S.C.S. § 631(a).

     95. The 10th Circuit has adopted the burden shifting analysis as found in McDonnell Douglas

        Corp. v. Green, 411 U.S. 792 (1973) in regards to determining whether an employer has

        violated the Age Discrimination in Employment Act. Simmons v. Sykes Enters., 647 F.3d

        943 (10th Cir. 2011).

     96. “Under this framework, the plaintiff must initially establish a prima facie case of

        discrimination. If the plaintiff establishes a prima facie case, the burden shifts to the

        employer to articulate some legitimate, nondiscriminatory reason for its action. Should the

        defendant carry this burden, the plaintiff must then have an opportunity to prove by a

        preponderance of the evidence that the legitimate reasons offered by the defendant were

        not its true reasons, but were a pretext for discrimination.” Id. at 947 (internal citations

        omitted).

     97. In order to establish a prima facie case of discrimination under the McDonnell Douglas

        framework, a plaintiff may do so by demonstrating the following: “(i) that he belongs to a

        [protected class]; (ii) that he applied and was qualified for a job for which the employer

        was seeking applicants; (iii) that, despite his qualifications, he was rejected; and (iv) that,

        after his rejection, the position remained open and the employer continued to seek

        applicants from persons of complainant’s qualifications.” McDonnell Douglas, 411 U.S.

        at 802.

     98. The Defendants violated the Age Discrimination in Employment Act through their

        wrongful acts alleged herein.



                                             Page 6 of 8
Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 7 of 8




     99. Plaintiff has exhausted his administrative remedies as required under the Act by filing a

        timely charge with Equal Employment Opportunity Commission and received a right to

        sue letter.

    100. Defendants’ violations of Plaintiff’s rights under the Age Discrimination Act in

       Employment caused Plaintiff to suffer damages, including but not limited to psychological,

       emotional, and reputational damages in addition to economic damages and the loss of

       educational and career opportunities, retirement benefits, and attorney fees and costs in this

       action.

                                          IV.     DAMAGES

    100. The Defendants’ discriminatory conduct alleged hereinabove has caused the Plaintiff the

       following damages:

            a. Lost pay, future wages, reduced wages, and benefits in amounts to be established at

               trial;

            b. Emotional upset, stress, and anxiety in an amount to be established at trial;

            c. Out-of-pocket expenses, litigation costs, and attorney fees in amounts to be established

               at trial.

                                  V.     REQUEST FOR RELLIEF

     Plaintiff requests that the court enter judgment in her favor and against Defendants as follows:

     101.         Awarding the Plaintiff’s special damages for front lost wages, benefits, and out-of-

        pocket expenses in amounts to be established at trial;

     102.         Awarding the Plaintiff general damages for emotional distress in an amount to be

        established at trial;



                                                Page 7 of 8
Case No. 1:21-cv-00690-CNS-SKC Document 1 filed 03/08/21 USDC Colorado pg 8 of 8




     103.       Punitive damages, pursuant to 42 U.S.C. 1981, 2000(e), in the maximum amount

        permitted by law;

     104.       Awarding the Plaintiff statutory and reasonable attorney fees, litigation expenses,

        and costs incurred in this action;

     105.       Awarding Plaintiff pre-judgment interest; and

     106.       Awarding the Plaintiff any additional and further relief that the court finds equitable,

        appropriate, or just.



            PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE

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                                             Page 8 of 8
